Case No. 1:16-cr-00284-PAB      Document 17       filed 04/03/17   USDC Colorado       pg 1
                                        of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No. 16-cr-00284-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. DONALD ILEY,

       Defendant.

______________________________________________________________________

                        GOVERNMENT’S ERRATA
                     REGARDING DOCUMENT NO. 16
______________________________________________________________________


       The United States of America, through Assistant United States Attorney, J. Chris

Larson, submits the following errata concerning the Government’s Motion To Extend

Filing Deadlines, Docket No. 16 (which is unopposed). The motion filed as Docket No.

16 contains a typo with an incorrect date concerning the defendant’s filing of a notice of

disposition. The defendant filed his notice of disposition on March 20, 2017.

       A corrected motion is attached.

                                                 Respectfully submitted,


                                                 By: s/ J.Chris Larson
                                                 J. Chris Larson
                                                 Assistant U.S. Attorney
                                                 United States Attorney’s Office
                                                 1801 California Ave, Suite 1600
                                                 Denver, Colorado 80202
                                                 Telephone: (303) 454-0100
                                                 E-mail: J.Chris.Larson@usdoj.gov
Case No. 1:16-cr-00284-PAB         Document 17        filed 04/03/17    USDC Colorado      pg 2
                                           of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of April, 2017, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all counsel of record in this case.




                                             By:    s/ J Chris Larson
                                                    Assistant U.S. Attorney
                                                    United States Attorney’s Office
                                                    1801 California Ave, Suite 1600
                                                    Denver, Colorado 80202
                                                    Telephone: (303) 454-0100
                                                    E-mail: J.Chris.Larson@usdoj.gov
